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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OH_IO

EASTERN DIVISION
lN RE: DAVOL, INC./C.R. BARD, Case No. 2:18-md-2846
INC., POLYPROPYLENE HERNIA
MESH DEVICES LIABILITY
LITIGATION CHIEF JUDGE EDMUND A. SARGUS, JR.

Magistrate Judge Kimberly A. Jolson

This document relates to:
ALL ACTIONS.
CASE MANAGEMENT ORDER NO. 16
Regardingl)efendant Fact Sheets
This Court hereby issues the following Case Management Order to govern the form,

procedure, and schedule for the completion and service of the Defendant Fact Sheets (“DFS”)

and other documents referenced therein.

I. Scope of this Order
This Order applies to all Plaintiffs, Defendants and their counsel in: (a) all actions

selected as Bellwether Pool Cases pursuant to CMO 10 and CMO 15.

II. Defendant Fact Sheets

A. The DFS Form and Service

 

l. The Defendant Fact Sheet is attached as Exhibit A, Which has been agreed to

by the parties and approved by the Court.

2. In accordance With CMO 10, the DFS for the 12 Plaintiffs Whose cases

have been selected as Bellwether Pool Cases shall be due on or before Apri125, 2019.

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3. The completed DFS served upon the respective individual Plaintiff’s counsel
of record via the individual counsel’s email. A copy of the DFS shall also be sent to the PEC’s
designee at bardmdldfs@fleming-law.com.

B. Amendments

Defendants shall remain under a continuing duty to supplement the information

provided in the DFS.

C. DFS Deficiencv Displite Resolution

l. Phase I: Deficiency Letter
a. If Plaintiffs deem a DFS deficient, then Plaintiffs’ counsel shall notify

Defendants’ attorney of record of the purported deficiencies via email and allow Defendants 14
days from the date of notification to correct the alleged deficiency A courtesy copy of the email
shall be sent to the PEC’s designee at bardmdldfs@fleming-law.com.
b. Plaintiffs shall include sufficient detail regarding the alleged
deiiciency(ies).
2. Phase II: Meet and Confer
Should Defendants not respond to the deficiency letter within the time rcquired, then
PlaintiHs may request a meet and confer. Plaintiffs’ counsel shall notify Defendants’ attorney of
record via email of the request to meet and confer and state that the meet and confer shall occur
within 10 days. A courtesy copy of the email shall be sent to the PEC’s designee at
bardmdldfs@ileming-law.com. The parties’ meet and confer period shall begin upon receipt of
the email by Defendants’ attorney of record and, absent agreement of the parties, shall be

completed by the conclusion of the 7 days.

3. Phase III: Motion to Comgel

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a. Following the meet and confer period, should Defendants: (i) fail to cure
the stated deficiency(ies); (ii) fail to assert objections to same; (iii) fail to respond to or
participate in the meet and confer process; or (iv) otherwise fail to provide responses, and absent
agreement of the parties to further extend the meet and confer period, at any time following
expiration of the 14 day meet and confer period, Plaintiffs may then file a Motion to Compel the
allegedly deficient discovery information via ECF, with a courtesy copy sent via email to
Defendants’ attorney of record and to the PEC’s designee at bardmdldfs@fleming-law.com.

b. Any motion to compel pursuant to this CMO need not be noticed for
presentment as required by Local Rule 7.1.

c. Any response to such a motion shall be filed and served within 14 days
following the date of service. Any reply, if necessary, shall be filed Within 5 days following the
date of service of the opposition.

d. Absent an Order from the Court granting a request by either or both
parties for oral argument, the Court Will rule on such motions without hearing argumentl

D. Failure to Serve a DFS
1. Defendants may request one extension of 7 days to serve a completed DFS,
which Plaintiffs shall not unreasonably Withhold. Such requests must be made via email to
Plaintiff`s1 counsel before the expiration of the deadline, with a courtesy copy sent to the PEC’s

designee at bardmdldfs@fleming-law.com.

2. Phase I: Notice of Non-Comgliance
a. Should Defendants fail to serve a DFS within the time required in this

CMO, Plaintiffs shall send a Notice of Non-Compliance letter via email to that Defendants’

attorney of record, with a courtesy copy to the PEC’s designee at bardmdldfs@fleming-law.com.

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b. Following the receipt of the Notice of Non-Compliance, Defendants shall
have 7 days to serve the DFS.

3. Phase II: Motion to Compel
a. Should Defendants fail to provide an executed DFS following the time

period allowed above, Plaintiffs may then move the Court for a motion to compel via ECF, with
a courtesy copy sent via email to Defendants’ attorney of record and to the PEC’s designee at
bardmdldfs@fleming-law.com. No meet and confer shall be required for such a motion.

b. Any motion to compel pursuant to this CMO need not be noticed for
presentment as required by Local Rule 7 . 1.

c. Any response to such a motion shall be Hled and served within 7 days
following the date of service. Any reply, if necessary, shall be filed within 5 days following the
date of service of the opposition

d. Absent an Order nom the Court granting a request by either or both

parties for oral argument, the Court will rule on such motions without hearing argument

III. Confidentialit_.y
All information disclosed in a DFS, the DFS itself, and all related documents (including

health care inforrnation) produced pursuant to the DFS shall be deemed confidential and treated

as “Confidential Information” under CMO 7.

 

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DATE EDMUNDA. sARGUs, JR.

CHIEF UNITED STATES DISTRICT JUDGE

BM_ MMQ\§Y\

DATE KIMBERLY A. JdLsoN
UNITED sTATEs MAGISTRATE JUDGE

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UNITED STATES DISTRICT COURT
THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

lN RE= DAvoL, INCJC.R. BARD, INC., _
PoLYPRoPYLENE HERNIA MESH Cas° N°- 2-13-111€1-2846

PRODUCTS LIABILITY LITIGATION CHIEF JUDGE EDMUND A_ SARGUS, JR.
Magistrate Judge Kimberly A. Jolson

This document relates to: . , .
PLAINTIFF NAME C“"l A"'“”” N°'
DEFENDANT FACT SHEET

For each case selected as a Bellwether Case, Davol Inc. and C.R. Bard, Inc. (“Defendants”)
must complete this Defendant Fact Sheet, The timing of the Defendant F act Sheet is subject to CMO
No. 10 or a future Court Order. As used in this Defendant Fact Sheet, “Davol/Bard Hernia Mesh
Device” refers to the medical device or devices identified in paragraph 8 of the Plaintiff"s Short Form
Complaint or, if no Short Forrn Complaint has been filed in the individual action, then “Davol/Bard
Hernia Mesh Device” refers to the medical device or devices at issue in the Plaintiff’ s operative
complaint (“Plaintiff’s Complaint”). ln completing this Defendant Fact Sheet, Defendants must
answer every question and not leave any blanks throughout the Fact Sheet. A completed Fact Sheet
shall be considered interrogatory responses pursuant to Federal Rules of Civil Procedure 33 and 34,
and will be governed by the standards applicable to written discovery under Federal Rules of Civil

Procedure 26 through 37.
I. SALES REPRESENTATIVE CONTACTS WITH TREAT]NG PHYSICIANS

Plaintiff has identified in the Plaintiff Fact Sheet each physician who treated and/or
evaluated plaintiff for hernia repair and/or associated conditions that led to the use of the
Davol/Bard Hernia Mesh Device in the case (“Identified Physicians”). As set forth in more detail
below, to the extent known or identifiable by electronic search, Defendants will provide the
following information for each Identiiied Physician relating to contact With any sales representative
employed by Defendants responsible for Davol/Bard Hernia Mesh Devices:

1. For each Identiiied Physician who is alleged to have implanted one or more of
the Davol/Bard Hernia Mesh Devices identified in the Plaintiff’ s Complaint, identify
the sales representative(s) responsible for one or more of the Davol/Bard Hernia
Mesh Devices identified in Plaintiff’s Complaint for the territory encompassing
where this Identiiied Physician practiced according to the information in the Plaintiff
Fact Sheet, The timeframe for this question is from (a) the later of the launch of the
Davol/Bard Hernia Mesh Device(s) implanted by this Identiiied Physician or ten
years before the date of implant of the Davol/Bard Hernia Mesh Device(s) implanted
by this Identiiied Physician until (b) seven years after the date of implant of the

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Davol/Bard Hernia Mesh Device(s) implanted by this Identified Physician.

2. For each Identified Physician who is alleged to have removed some or all of
one or more of the Davol/Bard Hernia Mesh Devices identified in Plaintiff’ s
Complaint, identify the sales representative(s) responsible for one or more of the
Davol/Bard Hernia Mesh Devices identified in the Plaintist Complaint for the
territory encompassing where this Identified Physician practiced according to the
information in the Plaintiff Fact Sheet. The timefrarne for this question is fi'om (a)
two years before the date of removal by this Identified Physician of some or all of
one or more of the Davol/Bard Hernia Mesh Device(s) and (b) two years after the
date of removal by this Identified Physician of some or all of one or more of the
Davol/Bard Hernia Mesh Device(s).

3. For each sales representative identified in subparts 1 and 2, identify the last
known address and telephone number of the sales representative and the dates of
employment of the sales representative with Davol or C.R. Bard.

4. For each sales representative identiHed in subparts 1 and 2, identify the sales
representative’s immediate supervisor (including, but not limited to, regional
supervisor or district manager) at Davol or C.R. Bard for the applicable time period,
including each supervisor’s dates of employment with Davol or C.R. Bard and last
known address and telephone number.

5. For each sales representative identified in subparts 1 and 2, Defendants shall
search the electronically stored data already collected or reasonably accessible for
each sales representative for references to each Identiiied Physician implicated by
the responses to subparts l and 2. The searches shall be designed to capture fi‘om
these sources records relating to contacts with the Identified Physicians concerning
Davol/Bard Hernia Mesh Devices, including but not limited to marketing
presentations to the Identified Physicians, promotional materials provided to the
Identified Physicians, medical literature provided to the IdentiHed Physicians, DHP
letters provided to the Identified Physicians, trainings of the Identified Physicians,
and surgeries attended by the sales representative The time&ame for this question
will correlate to the timeframes in subparts 1 and 2. As set forth in Section V below,
Defendants will produce to each Plaintiff any documents identified through these
searches.

6. F or each sales representative identified in subparts 1 and 2 and each supervisor
identified in subpart 4, Defendants shall search the electronically stored data
already collected or reasonably accessible for each sales representative and
supervisor for responsive documents according to the agreed-upon ESI protocol and
search terms. The timeframe for this question will correlate to the timef`rames in
subparts 1 and 2. As set forth in Section V below, Defendants will produce to each
Plaintiff any discoverable documents identified through these searches.

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II. AGREEMENTS WITH IMPLANTING FACILITY§ IES)

In the Plaintiff Fact Sheet, Plaintiff has identified each hospital, surgical center, or facility
where each Davol/Bard Hernia Mesh Device(s) identified in the Plaintiff’s Complaint was implanted
(“Implanting Facility”). For each Implanting Facility, to the extent known or identiHable by
electronic search, identify contacts and contracts as follows:

l. Identify by Bates range and/or produce all purchasing contracts
governing Davol/Bard Hernia Mesh Devices between Defendants and each
facility in effect at the time of implant of Defendants’ Hernia Mesh Devices(s)
identified in the Plaintiff’s Complaint at each applicable Implanting Facility.

2. Identify by Bates range and/or produce all communications, documents,
correspondence, or otherwise sent from Defendants to each Implanting Facility
for a period of five years prior to the date of implantation of Defendants’ Hernia
Mesh Device(s) identified in the Plaintiff’ s Complaint at each applicable
Implanting Facility to five years after implantation of such device.

III. OTHER CONTACTS, CONTRACTS, AND AGREEMENTS WITH
PHYSICIANS.

As set forth in more detail below, to the extent known or identifiable by electronic search, Defendants
will provide the following information for each Identified Physician (as defined in Section I above):

l. For any agreement(s) between Defendants and the Identified Physician(s),
please provide the information below. It is understood that the search for this
information will include the applicable database in effect B'om 2014 to present, as
well as a search of the electronically stored data already collected or reasonably
accessible for the time frame starting with the later of the launch of the Davol/Bard
Hernia Mesh Device(s) identiHed in Plaintiff s Complaint or five years before the
date of implant of the Davol/Bard Hernia Mesh Device(s).

 

Name of Identified Physician Retained Date(s) of Contract(s) Nature of Agreement (“Key
by Davol and/or Bard (indicate which or Agreement(s) Opinion Leader,” “Clinical
one or both) Investigator,” Preceptor, Etc.)

 

 

 

 

 

 

 

 

 

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2 For any monetary or non-monetary compensation or benefits including, but not
limited to, money, travel, and compensation for meal(s), provided to the Identified
Physician(s), please provide the information below. It is understood that the search
for this information will include the applicable database in effect from 2014 to
present, as well as a search of the electronically stored data already collected or
reasonably accessible for the time frame starting with the later of the launch of the
Davol/Bard Hernia Mesh Device(s) or five years before the date of implant of the
Davol/Bard Hernia Mesh Device(s).

 

Name of Identified Date(s) of Amount of Which Defendant (or
Physician compensation Compensation Both) and Purpose of
Compensation

 

 

 

 

 

 

 

 

 

 

3. For any training conducted by the Defendants or any representative thereof
provided to or by the Identified Physician(s) for any Davol/Bard Hernia Mesh
Device, please provide the information below. It is understood that the search for
this information will include the applicable database in effect from 2008 to present,
as well as search of the electronically stored data already collected or reasonably
accessible for the time name starting with the later of the launch of the Davol/Bard
Hernia Mesh Device(s) or five years before the date of implant of the Davol/Bard

Hernia Mesh Device(s).

 

Name of Identified Date(s) and Title or Topic of Identity of Location of
Physician Location(s) of Program Related Written
training Materials for Pro gram

 

 

 

 

 

 

 

 

 

 

 

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IV. PLAINTIFF-SPECIFIC AND DEVICE MANUFACTURING ]NFORMATION

1. Based on the lot number information in the Plaintiff Fact Sheet, for each
Davol/Bard Hernia Mesh Device(s) identified in Plaintiff’s Complaint, identify the
location and date of manufacture.

2 Identify by Bates range and/or produce the lot manufacturing and release
records for the lots referenced in Question l above

3. Identify by Bates range and/or produce the complaint file relating to
Plaintiff’s claims, including but not limited to all MedWatch Adverse Event
Reports and/or any other documents submitted to the FDA or any other
government agency with regard to Plaintiff`.

4. Identify by Bates range and/or produce any documents relating to clinical
research or clinical studies conducted by or on behalf of Defendants involving
either (a) the irnplantation of devices with the same lot number(s) identified in the
Plaintiff Fact Sheet or (b) in which Plaintiff was a known study participant

V. DOCUMENTS

Please ensure that the production of documentation includes specific reference to the
question to which the documentation is provided in response Documentation is defined to include
all forms of documents, including but not limited to paper, email, video, audio, spreadsheets, or
otherwise Documents previously produced by Defendants in connection with this MDL need not
be re-produced, but Defendants may identify responsive documents by Bates number or other
identifying information

1. Produce complete documentation of all information set forth in I through
IV above For documents related to I above, Defendants are only required to
search in electronically stored data collected for the Davol or C.R. Bard sales
representative(s) responsible for one or more of the DavolfBard Hernia Mesh
Devices assigned to the territory where the Identified Physician(s) was practicing
to the extent that sales representative’s electronic data was collected in connection
with this litigation or prior litigations.

2. Produce any documents in Defendants’ possession or control that were
provided to or received H'om Plaintiff’s Identified Physicians with regard to
Plaintiff and/or the Davol/Bard Hernia Mesh Device(s) implanted in Plaintiff, to
the extent not identified and attached in response to a prior question

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Defendant Fact Sheet Certification

l am an authorized agent of Defendants and I hereby certify that the matters stated
herein are not the personal knowledge of the undersigned; that the facts stated herein have
been assembled by authorized employees and counsel to Defendants and undersigned is
informed that the facts stated therein are true I further certify in my capacity as an
authorized agent of Defendants that the responses herein are true and complete to the best of
Defendants’ knowledge and that based upon a diligent search and analysis of the
information available to the Defendants and their counsel, and that the requested
documentation has been provided.

 

 

Print Name

 

Title

Date:

 

